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                                        2   NICHOLAS A. KOFFROTH, ESQ.
                                        3   Nevada Bar No. 16264
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                                        8

                                        9                              UNITED STATES BANKRUPTCY COURT
                                       10
                                                                                 DISTRICT OF NEVADA
                                       11
                                             In re                                                Case No. BK-23-10423-mkn
1980 Festival Plaza Drive, Suite 700




                                       12
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



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                                                                                                  Chapter 11
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                                       13
                                                     CASH CLOUD, INC.,
                                       14            dba COIN CLOUD,                              STIPULATION TO FURTHER
                                                                                                  CONTINUE HEARING DATE
                                       15                                       Debtor.
                                                                                                  Old Hearing Date: July 17, 2024
                                       16                                                         Old Hearing Time: 9:30 a.m.
                                       17
                                                                                                  New Hearing Date: September 18, 2024
                                       18                                                         New Hearing Time: 9:30 a.m.

                                       19

                                       20            Brink’s Incorporated (“Brink’s”), by and through its counsel Hirschler Fleischer, P.C., and

                                       21   Cash Cloud, Inc. dba Coin Cloud (the “Debtor” and together with Brink’s, the “Parties”), debtor and

                                       22   debtor in possession in the above-captioned case (the “Chapter 11 Case”), by and through its counsel

                                       23   Fox Rothschild LLP, stipulate and agree as follows (the “Stipulation”):

                                       24                                                 RECITALS

                                       25            A.     WHEREAS, on July 28, 2023 Brink’s, by counsel, filed its Application for Allowance

                                       26   and Payment of Administrative Expense Claim of Brink’s Incorporated (the “Application”) (Docket

                                       27   No. 977), which asserted and requested allowance and payment of Brink’s Administrative Claim

                                       28   (Docket No. 890) (the “Claim”) in the amount of $804,487.64, which was filed on July 20, 2023

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                                        1   pursuant to the Order Establishing Administrative Claim Bar Date for Filing Proofs of Administrative

                                        2   Expense Claim and Approving Form, Manner, and Sufficiency of Notice Thereof (Docket No. 823)

                                        3   (the “Order”);

                                        4            B.      WHEREAS, on August 1, 2023, the Debtor filed its Objection to the Application [ECF

                                        5   No. 989];

                                        6            C.      WHEREAS, on September 8, 2023, Brink’s filed a Notice of Hearing on the

                                        7   Application (the “Hearing”) which set the Hearing on October 19, 2023 at 10:30 a.m. and set Brink’s

                                        8   reply deadline (the “Reply Deadline”) for October 12, 2023 [ECF No. 1181] (the “Notice”);

                                        9            D.      WHEREAS, on October 12, 2023, the Parties filed a Stipulation to Continue the

                                       10   Hearing to November 1, 2023 at 9:30 a.m. (Pacific Time) and to continue the Brink’s Reply Deadline

                                       11   to October 25, 2023 (the “Stipulation”) [ECF No. 1373];
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                                       12            E.      WHEREAS, on October 16, 2023, the Bankruptcy Court entered an Order approving
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



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                                       13   the Stipulation [ECF No. 1380];

                                       14            F.      WHEREAS, Brink’s timely filed its Reply on October 25, 2023, in which it amended

                                       15   the amount of the Claim to $966,151.96 [ECF No. 1432];

                                       16            G.      WHEREAS, on October 30, 2023, the Parties filed a Stipulation to Continue the

                                       17   Hearing to December 13, 2023 at 9:30 a.m. (Pacific Time) (the “Second Stipulation”) [ECF No.

                                       18   1452];

                                       19            H.      WHEREAS, on November 1, 2023, the Bankruptcy Court entered an Order approving

                                       20   the Second Stipulation [ECF No. 1453];

                                       21            I.      WHEREAS, on December 11, 2023, the Parties filed a Stipulation to Continue the

                                       22   Hearing to January 17, 2024 at 9:30 a.m. (Pacific Time) (the “Third Stipulation”) [ECF No. 1538];

                                       23            J.      WHEREAS, on December 12, 2023, the Bankruptcy Court entered an Order approving

                                       24   the Third Stipulation [ECF No. 1540];

                                       25            K.      WHEREAS, on January 15, 2024, the Parties filed a Stipulation to Further Continue

                                       26   the Hearing to March 20, 2024 at 9:30 a.m. (Pacific Time) (the “Fourth Stipulation”) [ECF No. 1572];

                                       27            L.      WHEREAS, on January 26, 2024, the Bankruptcy Court entered an Order approving

                                       28   the Fourth Stipulation [ECF No. 1590];

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                                        1           M.     WHEREAS, on March 18, 2024, the Parties filed a Stipulation to Further Continue the

                                        2   Hearing to May 15, 2024 at 9:30 a.m. (Pacific Time) (the “Fifth Stipulation”) [ECF No. 1653];

                                        3           N.     WHEREAS, on March 19, 2024, the Bankruptcy Court entered an Order approving

                                        4   the Fifth Stipulation [ECF No. 1654];

                                        5           O.     WHEREAS, on May 6, 2024, the Parties filed a Stipulation to Further Continue the

                                        6   Hearing to July 17, 2024 at 9:30 a.m. (Pacific Time) (the “Sixth Stipulation”) [ECF No. 1708];

                                        7           P.     WHEREAS, on May 13, 2024, the Bankruptcy Court entered an Order approving the

                                        8   Sixth Stipulation [ECF No. 1718];

                                        9           Q.     WHEREAS, the Parties desire to further continue the Hearing to September 18, 2024

                                       10   at 9:30 a.m. (Pacific Time).

                                       11           NOW, THEREFORE, the Parties hereby stipulate and agree to the following:
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                                       12           IT IS STIPULATED AND AGREED that:
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



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          (702) 262-6899




                                       13           1.     The Hearing shall be continued to September 18, 2024 at 9:30 a.m. (Pacific Time).

                                       14           Dated this 10th day of July 2024.

                                       15
                                                 FOX ROTHSCHILD LLP                          HIRSCHLER FLEISCHER, P.C.
                                       16

                                       17        By: /s/ Brett A. Axelrod                    By: /s/ Robert S. Westermann
                                                     BRETT A. AXELROD, ESQ.                     ROBERT S. WESTERMANN, ESQ.
                                       18                                                       (admitted pro hac vice)
                                                     Nevada Bar No. 5859
                                                     NICHOLAS A. KOFFROTH, ESQ.                 BRITTANY B. FALABELLA
                                       19
                                                     Nevada Bar No. 16264                       (admitted pro hac vice)
                                       20            1980 Festival Plaza Drive, Suite 700       2100 East Cary Street
                                                     Las Vegas, Nevada 89135                    Richmond, Virginia 23223
                                       21            Counsel for Debtor
                                                                                                 and
                                       22

                                       23                                                        MAURICE B. VERSTANDIG, ESQ.
                                                                                                 Nevada Bar No. 15346
                                       24                                                        THE VERSTANDIG LAW FIRM, LLC
                                                                                                 452 W. Horizon Ridge Pkwy, #665
                                       25                                                        Henderson, Nevada 89012
                                                                                                 Counsel for Brink’s
                                       26

                                       27

                                       28

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